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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

    Criminal Case No. 19-cr-00098-CMA-01

    UNITED STATES OF AMERICA,

             Plaintiff,

    v.

    LEONARD LUTON,

             Defendant.



               GOVERNMENT’S UNOPPOSED MOTION IN LIMINE SEEKING A
         PRE-TRIAL RULING ON SELF-AUTHENTICATING, NON-HEARSAY EVIDENCE
                 PURSUANT TO FED. Rs. EVID. 803(6), 902(11), and 902(13)



             In an effort to conserve judicial resources and to promote efficiency at trial, and in

    accordance with the Federal Rules of Evidence, the United States of America, by and

    through Assistant United States Attorneys Martha A. Paluch, and Sarah H. Weiss, hereby

    seeks a pre-trial ruling that certain records the government will seek to admit at trial are

    non-hearsay, self-authenticating evidence pursuant to Fed. Rs. Evid. 803(6), 902(11)

    and 902(13). In support of this motion, the government states as follows:

         1. Over the course of its investigation, the government obtained certified business

            records and digital evidence from 32 custodians. The government produced these

            records, along with certified declarations, to the defense in discovery. 1



1     The government is awaiting certified records from one custodian (Bank of America
records for witness Lloyd Wessam), but will turn those records over to the defense promptly
upon their receipt.
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  2. In advance of this motion, the parties conferred regarding the admission of these

     records at trial. Counsel for the defendant, Mark Scabavea, has represented that

     he does not oppose the present motion.

  3. The parties hereby agree and stipulate that the records are true copies of the

     companies named below, and as such, are authentic pursuant to Fed. R. Evid.

     902(11). The parties also stipulate that these exhibits fall within the business

     records exception to the rule against hearsay, Fed. R. Evid. 803(6), in that the

     exhibits listed here are reports and data compilations of acts or events, made at or

     near the time by, or from information transmitted by, a person with knowledge, and

     that the records were kept in the usual course of the regularly conducted business

     activity of the named business, and that it was the regular practice of that business

     entity to make and keep such reports and data compilations. See, e.g., United

     States v. Yeley-Davis, 632 F.3d 673, 678 (10th Cir. 2011) (certified Verizon cell

     phone records are admissible business records pursuant to Rule 803(6)); United

     States v. Channon, 881 F.3d 806, 809-811 (10th Cir. 2018) (business records

     obtained from a database presented in the form of a spreadsheet are admissible

     business records pursuant to Rule 803(6)).

  4. By virtue of this stipulation, the defense also confirms that it has no objection to

     these records on confrontation grounds. See Yeley-Davis, 632 F.3d at 680-81

     (relying on United States v. Melendez-Diaz, 557 U.S. 305 (2009) in holding that

     certifications authenticating records are not testimonial and therefore are not barred

     by Crawford v. Washington, 541 U.S. 36 (2004)); United States v. Kahre, 610 F.

     Supp. 2d 1261, 1263-66 (D. Nev. 2009) (Federal Rules of Evidence 803(6) and

     902(11) “go hand in hand” and “declarations filed under Federal Rules of Evidence

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     902(11) are “the functional equivalent to live witness testimony,” do not run afoul of

     the Confrontation Clause, and may therefore be relied upon in criminal cases); see

     also United States v. Siders, 712 Fed. App’x 601, 602-03 (9th Cir. 2017) (same).

  5. The parties further agree and stipulate that a copy of the Cellebrite data extraction

     performed on the defendant’s cellphone is admissible as a record generated by an

     electronic process or system that produces an accurate result, as shown by a

     certification of a qualified person, pursuant to Fed. R. Evid. 902(13) (digital evidence

     “generated by an electronic process or system that produces an accurate result, as

     shown by a certification of a qualified person” is self-authenticating). See also, id. at

     Advisory Committee’s Note (2017) (“as with the provisions on business records in

     Rules 902(11) and (12), the Committee has found that the expense and inconvenience

     of producing a witness to authenticate an item of electronic evidence is often

     unnecessary”).

  6. By virtue of these stipulations, the parties waive their rights to confront and

     cross-examine the custodians of record who would be called as a witness to

     establish said authenticity and Rule 803(6) foundation. The records at issue will still

     be subject to challenges based on relevance or the other objections provided under

     the Federal Rules of Evidence that do not pertain to authenticity.

  7. Out of an abundance of caution, the government has issued trial subpoenas to the

     custodians of records for these various business entities. Several of these entities

     have indicated that they will comply with their obligation to appear at trial unless and

     until the Court issues a formal order releasing them from their subpoenas.

  8. A pre-trial ruling deeming the stipulated records as self-authenticating, non-hearsay

     evidence would conserve resources by allowing the early release of these custodians

     from their trial subpoenas.    Such a ruling would also promote efficiency in the
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       presentation of evidence at trial.

    9. Accordingly, the government respectfully requests a pre-trial ruling that the following
       records listed below are self-authenticating, non-hearsay evidence, pursuant to

       Fed. Rs. of Evid. 803(6), 902(11), and 902(13).

    Custodian                                Bates Number(s)        Bates Range of Certified
                                             of Certified           Records
                                             Declaration(s)

      Apple                                  INV_1214               INV_1215-1216
                                             INV_2194               INV_12011
                                             SW_314                 SW_315-318, 3252
      Bank of America (Luton)                BOA_2                  BOA_3-445
                                             BOA_446                BOA_447-455

      Bank of America (Wessam)              Forthcoming             Forthcoming


      Bank of Colorado                       BCO_2–BCO_3            BCO_4-69
                                             BCO_69.001             BCO_70-72
                                             BCO_73
                                                                    INV_2385-2386

      Bank of Estes Park                     BEP_2; BEP_30;         BEP_3-79
                                             BEP_77
                                                                    INV_1760-1761
                                             INV_1759

      Cellebrite Image of Defendant          INV_2007-2009          Thumb Drive
      Luton’s Cellphone                                             #0000469


1   INV_256 is a duplication of INV_1201.
2 SW_320-324     is a duplication of SW_315-318.




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    CenturyLink                       INV_1529        CENT_1-131

    Citizens Bank                     CITZ_3          CITZ_4-24

    Discover                          INV_1249        INV_1253-1257

    FedEx                             FEDX_16;        FEDX_2-15;
                                      INV_1587        INV_1580-1586

    Flagstar Bank                     FLG_89          INV-2013-2087
                                                      FLG_1-88

    Google (Gmail)                    SW_306          SW_307-313 &
                                                      thumb drive provided on
                                                      9/24/19

    Grand River Bank                  GRB_3           GRB_4-22

    Hartford Federal Credit           INV_2647        INV_2305-2646
    Union

    Huntington National Bank          HNB_101         HNB_4-239


    Immigration & Customs             INV_2365        INV_2366-2382
    Enforcement Travel Records        INV_2576-2577
    (Luton & Dobson)                                  INV_2578-2580
                                      INV_2581-2582
                                                      INV_2583-2593

    Immigration & Customs             A-FILE_1        A-FILE_2-172
    Enforcement A-File (Luton)


    Jackson National Life Insurance   INV_1531        JNLI_4-693


    JP Morgan Chase                   JPM_2           JPM_3-146

    KeyBank                           KEY_3           KEY_5-29

    Old National Bank                 INV_1527        ONB_1-7

    Peoples United Bank               INV_2684-2685   INV_2686-2715

    Premier Members Credit            PMCU_1          PMCU_2-145
    Union                             PMCU_216        PMCU_146-215

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       TD Bank                           TDB_3–TDB_4        TDB_9-44

       T-Mobile                          SW_176             SW_177-186
                                         INV_1971           INV_1972-1981

       UPS                               INV_1693           INV_1694-1700
                                         INV_1940           INV_1941-1955

       US Bank                           USB_2              USB_3-33

       US Bank NA (Fidelity)             INV_1670           INV_1671-1683

       USPS                              INV_2113-2115      INV_2116-2122
       Verizon                           INV_1528           VZN_1-11
       Western Union                     WU_1               WU_23
       Ymax Communications               ORD_23-24          ORD_16-22



DATED this 9th day of January, 2020.


                                                         JASON R. DUNN
                                                         United States Attorney

                                                         s/ Sarah H. Weiss
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3   INV_1702 is a duplication of WU_2.




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 9th day of January, 2020, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system which will send notification

of such filing to all counsel of record.



                                                      s/ Sarah H. Weiss
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